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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


 SECURITIES AND EXCHANGE COMMISSION,

                        Plaintiff,

        v.                                                    Civ. Action No. 4:24-cv-00558-O

 MATTHEW BROWN and                                             JURY TRIAL DEMANDED
 MATTHEW BROWN COMPANIES, LLC

                        Defendants.



                PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES

       Plaintiff Securities and Exchange Commission is unaware of any person or entity who

has an interest in the outcome of this litigation, other than the Defendants.

Dated: June 17, 2024                          Respectfully submitted,

                                               /s/ Patrick Disbennett
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